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          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST
_______________________________
                                   )
SPACE EXPLORATION                  )
TECHNOLOGIES CORP.,                )
                   Plaintiff,      )
      v.                           )   No. 14-354 C
                                   )   (Judge Braden)
THE UNITED STATES,                 )
                   Defendant,      )
      and                          )
                                   )
UNITED LAUNCH SERVICES,            )
LLC,                               )
             Defendant-Intervenor. )
_______________________________ )

             APPENDIX IN SUPPORT OF DEFENDANT’S
          MOTION TO DISMISS PORTIONS OF PLAINTIFF’S
       COMPLAINT RELATED TO CONTRACT NO. FA8811-13-C-0003


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